Case 2:05-cv-02043-.]DB-dkv Document 28 Filed 07/01/05 Page 1 of 3 Pa e|D 34

 

UNITED STA TES DISTRICT COURT w sv_ - _____ __M
WESTERN DISTRICT OF TENNESS

WESTERN DIVlsIoN 1551 " *" 7= 56

    

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cARsTELLA coNNER, JUDGMENT IN AW gi~ M
as Administratix of the Estate of

CASSOWAY COTTON, and on

behalf of the wrongful death beneficiaries

of CASSOWAY COTTON,

Plaintiff,
vi

KINDRED HEALTHCARE, INC., et al., CASE NO: 05-2043-B

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that 1n accordance with the Order Remanding Case
To State Court entered on .Iune 27, 2005, this cause is hereby dismissed.

APP VED:

 

DA IEL BREEN \
n sTATEs DISTRICT coURT
THUMS M. GOULD

L: §§ 05
D Clerk of Court

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( y) uty Clerk

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This notice confirms a copy of the document docketed as number 28 in
case 2:05-CV-02043 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

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Honorable .1. Breen
US DISTRICT COURT

